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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:04CR3048
                                              )
                    Plaintiff,                )
                                              )
      vs.                                     )
                                              )          ORDER
LUIS M. MINJARES,                             )
                                              )
                    Defendant.                )

      IT IS ORDERED that:

      (1)    The government’s request for Rule 35 hearing (filing 86) is granted;

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 84) has been set before the undersigned United States district judge on
Monday, April 17, 2006, at 4:30 p.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska;

       (3)  At the request of the defendant through his counsel, and with the agreement of
the government, the defendant may be absent from the hearing on the Rule 35 motion;

      (4)    The Marshal is directed not to return the defendant to the district;

      (5)    The defendant is held to have waived his right to be present.

      March 30, 2006.                             BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
